          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CIVIL CASE NO. 1:10cv19
                     [Criminal Case No. 1:06cr250]



MARCUS ANTWON TWITTY,       )
                            )
         Petitioner,        )
                            )
         v.                 )                 ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
         Respondent.        )
____________________________)


     THIS MATTER is before the Court on the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1].

                        PROCEDURAL HISTORY

     On October 3, 2006, the Petitioner and twenty-one co-defendants were

charged with conspiracy to possess with intent to distribute more than 5

kilograms of cocaine and more than 500 grams of methamphetamine, in

violation of 21 U.S.C. §846. [Criminal Case No. 1:06cr250, Doc. 3]. The

Petitioner entered into a plea agreement with the Government on February 7,

2007 pursuant to which he agreed to plead guilty to the conspiracy charge,



  Case 1:06-cr-00250-MR-WCM    Document 424   Filed 12/16/10   Page 1 of 12
Count One. [Id., Doc. 253]. On October 9, 2007, the Petitioner was sentenced

to 235 months imprisonment. [Id., Doc. 339].

       The Petitioner filed a direct appeal. [Id., Doc. 346]. His appellate

counsel filed an Anders 1 brief asserting that there were no meritorious

grounds for appeal but raising the following claims for the appellate court’s

consideration: 1) erroneous denial of the Petitioner’s motion for new counsel;

2) an unreasonable sentence; 3) an erroneous enhancement for possession

of a weapon; 4) the erroneous computation of Petitioner’s criminal history; 5)

an erroneous sentence enhancement for obstruction of justice; and 6)

ineffective assistance of trial counsel. On January 16, 2009, the United States

Court of Appeals for the Fourth Circuit affirmed, by unpublished opinion,

Petitioner’s sentence and conviction. United States v. Twitty, 305 Fed. Appx.

950 (4 th Cir. 2009).

       On January 15, 2010, the Petitioner timely filed the instant Motion to

Vacate alleging that he received ineffective assistance of trial counsel.2 More

specifically, the Petitioner alleges that he is legally incompetent and that he

informed his counsel that he had a history of mental illness but his trial

counsel nevertheless counseled him into pleading guilty without making an

       1
           Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).
       2
           The case was reassigned to the undersigned because the sentencing judge has
retired.

                                              2

   Case 1:06-cr-00250-MR-WCM           Document 424      Filed 12/16/10   Page 2 of 12
inquiry into his mental health or competency.3 The Petitioner asserts that he

has “ a history of . . . [d]epression, [d]ysthmic disorder, [a]lcoholic fetal

syndrome, and [b]rain dysfunction,” and that his verbal disclosure to counsel

concerning his mental health “was sufficient to notify and inform him of what

[the Petitioner] believed to be a very serious legal or [c]onstitutional issue.”

[Doc. 1, at 5.]

      The Government has both responded and moved for summary

judgment. [Doc. 7, Doc. 8]. The Petitioner was provided a Roseboro notice

and filed response to the motion for summary judgment.4 [Doc. 9, Doc. 10,

Doc. 11].




      3
        It would appear on the surface that the Petitioner had procedurally defaulted
with regard to this claim. The Petitioner asserts, however, that ineffective assistance of
counsel excuses his procedural default with regard to his competency claim. [Doc. 1-1,
at 1-2]. The Petitioner’s Motion focuses on the ineffectiveness of trial counsel, rather
than appellate counsel who did not preserve the issue on appeal. Construing the
Petitioner’s Motion to Vacate liberally, this Court will address Petitioner’s competency
claim within the context of a direct ineffective assistance of trial counsel claim. Such a
claim would not be procedurally defaulted because ineffective assistance of counsel
claims are properly raised for the first time on collateral review.
      4
       Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), requires the Court to
provide notice to a pro se prisoner of the heavy burden that he carries in responding to
a motion for summary judgment.

                                            3

   Case 1:06-cr-00250-MR-WCM         Document 424       Filed 12/16/10    Page 3 of 12
                          STANDARD OF REVIEW

      The Petitioner’s ineffective assistance of counsel claim is governed by

the holding in Strickland v. Washington, 466 U.S. 668, 687-91, 104 S.Ct.

2052, 80 L.Ed.2d 674 (1984). In Strickland, the Supreme Court held that in

order to succeed on an ineffective assistance of counsel claim, a petitioner

must establish that counsel’s performance was constitutionally defective to the

extent it fell below an objective standard of reasonableness, and that he was

prejudiced thereby, that is, there is a reasonable probability that but for the

error, the outcome would have been different. In making this determination,

there is a strong presumption that counsel’s conduct was within the wide

range of reasonable professional assistance. Id. at 689; Fields v. Attorney

General of Md., 956 F.2d 1290, 1297-99 (4 th Cir. 1992), certiorari denied 506

U.S. 885, 113 S.Ct. 243, 121 L.Ed.2d 176 (1992). The Petitioner bears the

burden of proving Strickland prejudice. Fields, 956 F.2d at 1297. If the

petitioner fails to meet this burden, a “reviewing court need not consider the

performance prong.” Id. at 1290.

      Moreover, a petitioner who alleges ineffective assistance of counsel

following the entry of a guilty plea has an even higher burden to meet. Hill v.

Lockhart, 474 U.S. 52, 53-59, 106 S.Ct. 366, 88 L.Ed.2d 203 (1985). When

a petitioner challenges a conviction entered after a guilty plea, in order to


                                      4

  Case 1:06-cr-00250-MR-WCM      Document 424    Filed 12/16/10   Page 4 of 12
establish the requisite prejudice, such a petitioner must show that “there is a

reasonable probability that but for counsel’s errors he would not have pleaded

guilty and would have insisted on going to trial.” Hooper v. Garraghty, 845

F.2d 471, 475 (4 th Cir. 1988), certiorari denied 488 U.S. 843, 109 S.Ct. 177,

102 L.Ed.2d 91 (1988).       Claims of ineffective assistance of counsel at

sentencing after a guilty plea, however, require a petitioner to establish that

a reasonable probability exists that absent the alleged error, the results of the

proceeding would have been different. United States v. Mayfield, 320 Fed.

Appx. 190, 191 (4 th Cir. 2009).

                                   DISCUSSION

      The Petitioner asserts that his counsel was ineffective for failing to

request a competency hearing on his behalf. The Petitioner asserts that he

has a history of depression, dysthmic disorder, fetal alcohol syndrome, and

brain dysfunction and that he informed his counsel of his mental health history

but that his attorney ineffectively counseled him to plead guilty without

investigating the Petitioner’s mental health or competency. [Doc. No. 1-1, at

3, 6]. The Petitioner contends that the medical records submitted with his

§2255 motion support his claim that the state court ordered him “involuntarily

committed” for treatment of his mental illness and that his “mental functioning

abilities” have been described as “slow, below average, and questionable.”


                                        5

  Case 1:06-cr-00250-MR-WCM        Document 424   Filed 12/16/10   Page 5 of 12
[Id., at 6]. The Petitioner argues that his mental health history was sufficient

to warrant a competency hearing. Additionally, the Petitioner asserts that “[i]f

the Court had been aware of [Petitioner’s] mental history not only would it

have observed him closer [sic] or been more cautious in accepting his plea of

guilty, but the Court would’ve realized that [Petitioner] couldn’t [sic]

understand much.” [Id., at 8].        Thus, he argues that he is “entitled to a

competency examination nunc pro tunc to determine if he was competent to

plead guilty.” [Doc. No. 1-1 at 9.]

      In order to show incompetence to plead guilty, a defendant must show

“that his mental faculties were so impaired . . . when he pleaded guilty that he

was incapable of full understanding and appreciation of the charges against

him, of comprehending his constitutional rights and of realizing the

consequences of his plea.” Shaw v. Martin, 733 F.2d 304, 314 (4 th Cir. 1984),

certiorari denied 469 U.S. 873, 105 S.Ct. 230, 83 L.Ed.2d 159 (1984), quoting

United States v. Truglio, 493 F.2d 574 (4 th Cir. 1974); United States v.

General, 278 F.3d 389, 395-96 (4 th Cir. 2002), certiorari denied 536 U.S. 950,

122 S.Ct. 2643, 153 L.Ed.2d 821 (2002) (“the test for determining competency

is whether [a defendant] has sufficient present ability to consult with his lawyer

with a reasonable degree of rational understanding . . . and whether he has

a rational as well as factual understanding of the proceedings against him.”)


                                          6

  Case 1:06-cr-00250-MR-WCM       Document 424     Filed 12/16/10   Page 6 of 12
(citations omitted). A defendant has a procedural right to a competency

hearing if there is reasonable cause to believe that the defendant may be

suffering from a mental disease or defect rendering him mentally

incompetent.5 18 U.S.C. § 4241(a). A competency hearing is only necessary,

however, when a court has reason to doubt the defendant’s competence.

Godinez v. Moran, 509 U.S. at 401 n.13.

      Notwithstanding the Petitioner’s assertion to the contrary, the record

simply does not support a conclusion that his counsel was ineffective.

That is, the record does not establish that at the time of his criminal

prosecution the Petitioner did not understand the nature and consequences

of the proceedings against him or that he was unable to properly assist in his

defense.

      It is undisputed that Petitioner has a history of mental health issues.

Such issues were reported in the pre-sentence report and were raised by

Petitioner himself at his plea hearing. [Criminal Case No. 1:06cr250, Doc.

418, Doc. 382].      In addition, the Petitioner has attached documents to his



      5
         A defendant is considered incompetent if the district court finds “by a
preponderance of the evidence that the defendant is presently suffering from a mental
disease or defect rendering him mentally incompetent to the extent that he is unable to
understand the nature and consequences of the proceedings against him or to assist
properly in his defense.” 18 U.S.C. § 4241(d). The competency standard for pleading
guilty is identical to that for standing trial. Godinez v. Moran, 509 U.S. 389, 391, 113
S.Ct. 2680, 125 L.Ed.2d 321 (1993).

                                            7

   Case 1:06-cr-00250-MR-WCM         Document 424      Filed 12/16/10    Page 7 of 12
Motion to Vacate that establish that he was diagnosed at approximately the

age of thirteen with possible fetal alcohol syndrome, dysthmic disorder (a type

of depression), and adjustment disorder. [Doc. No. 1-2]. These documents

also establish that the Petitioner was involuntarily committed for a period of

about ten days in January 1997.        [Doc. No. 1-3, at 5.]       None of these

diagnoses in and of themselves, however, support a conclusion that the

Petitioner was incompetent, almost ten years later, to enter a guilty plea. The

mere diagnosis of mental health issues at any time does not automatically

equate with an inability to understand charges and assist in one’s own

defense. Burket v. Angelone, 208 F.3d 172, 192 (4 th Cir. 2000), certiorari

denied 530 U.S. 1283, 120 S.Ct. 2761, 147 L.Ed.2d 1022 (2000) (“not every

manifestation of mental illness demonstrates incompetence to stand trial;

rather, the evidence must indicate a present inability to assist counsel or

understand the charges.”) As such, the fact that the Petitioner was diagnosed

with various mental health issues almost ten years before his federal

prosecution is simply insufficient as a matter of law to establish that he was

incompetent to plead guilty. Id. (‘[N]either low intelligence, mental deficiency,

nor bizarre, volatile, and irrational behavior can be equated with mental

incompetence to stand trial.”)

      Such a conclusion is bolstered by the contents of the presentence


                                       8

  Case 1:06-cr-00250-MR-WCM      Document 424     Filed 12/16/10    Page 8 of 12
report. [Criminal Case No. 1:06cr250, Doc. 417]. A review of the presentence

report reveals that the Petitioner clearly understood the nature and

consequences of his drug dealing. [Id.]. First, the presentence report details

his elaborate and desperate attempt to evade arrest. [Id., at 5-6]. Second,

the presentence report details the Petitioner’s coherent conversation with

officers after his arrest during which he cooperated by providing details of the

drug operation.      [Id., at 6-7].

       Likewise, the Petitioner’s conduct during the criminal process supports

a conclusion that he was competent to enter a guilty plea. Trial counsel

swears in his affidavit that he did not, at any time, have any indication that the

Petitioner did not fully understand the charges against him.6 [Doc. No. 7-2].

Trial counsel also swears the Petitioner never exhibited any signs of mental

illness or incompetence during interactions with him. [Id.]. Likewise, nothing

in the Petitioner’s demeanor or responses at his plea and sentencing hearings

gave the Court any reason to believe that he was not competent to enter a

       6
          The Petitioner asserts in his response to the Motion for Summary Judgment that
his trial counsel states in his affidavit that the Petitioner never informed counsel about
his mental health history. [Doc. 10, at 2]. The Petitioner misrepresents trial counsel’s
affidavit. A review of the affidavit reveals that trial counsel sets forth that he had no
present indication that Petitioner did not understand the proceedings against him. [Doc.
7-2, Ex. 2 at ¶ 2.] Trial counsel also asserts that the Petitioner did not tell him that he
presently suffered from mental illness. [Id.]. The Petitioner’s counsel never states that
the Petitioner did not inform him of his mental health history. Moreover, the record
clearly establishes that, at a minimum, counsel and the Court were made aware of
Petitioner’s mental health history at the plea hearing. [Criminal Case No. 1:06cr250,
Doc. 382, at 5-9].

                                            9

   Case 1:06-cr-00250-MR-WCM          Document 424      Filed 12/16/10    Page 9 of 12
guilty plea.     Significantly, in his allocution at his sentencing hearing, the

Petitioner stated “I recognize the wrongs that I did and now I’m trying to find

a new life, a new way, so I found myself in the Bible, trying to figure out where

I went wrong and how to change.” [Criminal Case. No. 1:06cr250, Doc. 381,

at 6].

         In conclusion, the Petitioner has not established that his counsel’s

performance was deficient. Neither counsel nor the Court observed any

behavior which would have led them to question whether the Petitioner was

competent to enter a guilty plea. The Petitioner’s ten year old diagnoses of

mental health issues does not equate with a finding of incompetence at the

time of prosecution.        As such, counsel was not ineffective for failing to

request a competency hearing.

         In addition, the Petitioner has failed to establish that he was prejudiced.

He has simply not presented any evidence to establish that he was unable,

at the time of the criminal proceedings at issue, to differentiate between right

and wrong or to understand the proceeding against him at the time of his

criminal proceeding. Since the Petitioner has not presented any evidence that

counsel should have uncovered 7 that would have led the Court to conclude

         7
       The Petitioner laments the destruction of his mental health records from the
time period prior to January 1997. As an initial matter, these records were destroyed
long before Petitioner’s present criminal proceeding. As such, no action by counsel
would have resulted in them being available for review. Equally important, these

                                          10

  Case 1:06-cr-00250-MR-WCM         Document 424      Filed 12/16/10   Page 10 of 12
that he was not competent to enter his guilty plea, he cannot establish that he

was prejudiced and this claim is dismissed on that basis as well. Nickerson

v. Lee, 971 F.2d 1125, 1136 (4 th Cir. 1992), certiorari denied 507 U.S. 923,

113 S.Ct. 1289, 122 L.Ed.2d 681 (1993) (unsupported conclusory allegations

do not entitle petitioner to an evidentiary hearing).

      The Court has considered the Petitioner’s motion, any attached exhibits,

and the record of the prior proceedings. The Court finds that the Petitioner is

not entitled to relief and therefore the motion must be dismissed. The Court

further finds that the Petitioner has not made a substantial showing of a denial

of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller -El v. Cockrell, 537

U.S. 322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in order to satisfy

§ 2253(c), a petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong)

(citations omitted). As a result, the Court declines to issue a certificate of

appealability. Rule 11(a), Rules Governing Section 2255 Proceedings for the

United States District Courts.




records predated the records the Petitioner has produced and he has not asserted any
facts to support a conclusion that such records contained any information that would
support a conclusion that the Petitioner was incompetent at the time of the criminal
proceedings at issue.

                                         11

  Case 1:06-cr-00250-MR-WCM        Document 424     Filed 12/16/10   Page 11 of 12
                                    ORDER

        IT IS, THEREFORE, ORDERED as follows:

1.      The Respondent’s Motion for Summary Judgment [Doc. 8] is hereby

        GRANTED;

2.      The Petitioner’s Motion to Deny Government’s Motion for Summary

        Judgment, pursuant to Fed.R.Civ.Proc. 56(e) [Doc. 11] is hereby

        DENIED; and

3.      The Petitioner’s Motion under 28 U.S.C. §2255 to Vacate, Set Aside, or

        Correct Sentence by a Person in Federal Custody [Doc. 1] is hereby

        DISMISSED.



                                       Signed: December 16, 2010




                                       12

     Case 1:06-cr-00250-MR-WCM   Document 424    Filed 12/16/10    Page 12 of 12
